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                                                              October 14, 2020

 Via ECF

 The Honorable Jesse M. Furman
 United States District Court
 Southern District of New York
 40 Foley Square
 New York, NY 10007

         Re:    United States v. Robert Berry, 20 CR 72 (JMF)

 Dear Judge Furman:

       Per the Court’s order dated October 7, 2020 (ECF # 32), the parties
 have conferred and jointly request that the change-of-plea proceeding go
 forward on November 18, 2020. Mr. Berry further consents to proceed
 remotely in light of the ongoing public health situation.

                                                      Respectfully submitted,


                                                      _____________________________
                                                      Tamara L. Giwa
                                                      Counsel for Mr. Berry
                                                      Federal Defenders of New York
                                                      (917) 890-9729


 Cc:     AUSA Brett Kalikow (via ECF)

The change-of-plea will go forward, as previously scheduled, on November 18, 2020, at 10:00 a.m.
No later than October 22, 2020, defense counsel shall file a letter indicating whether the defendant is
able to participate by video conference (i.e. Skype for Business platform) or by telephone. In either case,
the Court will issue an Order with instructions on how to access the video/telephone call closer to the date
of the proceeding. The Clerk of Court is directed to terminate Doc. #33. SO ORDERED.




                              October 15, 2020
